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                Supreme Court of the United States
                       Office of the Clerk
                   Washington, DC 20543-0001
                                                                    Scott S. Harris
                                                                    Clerk of the Court
                                                                    (202) 479-3011
                                 January 13, 2025


  Clerk
  United States Court of Appeals for the Sixth Circuit
  540 Potter Stewart U.S. Courthouse                                  FILED
  100 East Fifth Street                                             Jan 14, 2025
  Cincinnati, OH 45202-3988                                   KELLY L. STEPHENS, Clerk


        Re: Brian Kelsey
            v. United States
            No. 24-590
            (Your No. 23-5755, 23-5756)


  Dear Clerk:

        The Court today entered the following order in the above-entitled case:

        The petition for a writ of certiorari is denied.



                                          Sincerely,




                                          Scott S. Harris, Clerk




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